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Greetings Judge Simon.

We understand you wish to collect perspectives from the diverse communities on how well
police reform priorities are being factored into Portland Police initiatives. Coalition of Advisory
Groups (CAG), started in 2020. Portland Police Bureau (PPB) was working with individual
Advisory Councils, and it was asked if we can meet collectively for a meet and greet. That
quickly evolved to a coalition group as we found we had a common objective when working
with PPB. It also strengthened our community voice.

The mission of the CAG is to enhance collaboration and support among duly recognized
police advisory groups in the City of Portland, enhancing their ability to act as an avenue
for collective community input to the Portland Police Bureau and City Leadership
regarding policies, directives, and programs involving public safety.

The following Advisory Councils are members of the CAG:
       African American Advisory Council (AAAC)
       Muslim Advisory Council (MAC)
       Slavic Advisory Council (SAC)
       Asian Pacific Islander American Advisory Council (APIAAC)
       Latino Advisory Council (LAC)
       Training Advisory Council (TAC)
       Behavioral Health Unit Advisory Council (BHUAC)

The only Advisory Councils that report to the city are BHUAC and TAC. All other Advisory
Councils do not have any accountability to the city government. We are purely community-
based. Our bi-monthly meetings are closed meetings, providing a safe area for people to be
transparent. PPB representatives, including an assigned PPB Chief and DOJ are
attendees. Without transparency and accountability, trust cannot be established, which
requires both sides working together. After 4 years in working together, we have seen no
upset in our working together and have only grown in our advocacy, commitment, and
involvement with PPB. It does not mean there are not issues addressed, but they are always
worked out and not ignored.

In 2024, the following CAG accomplishments were achieved:
     PPB Chief of Police presented PPB 18-month strategic plan, allowing input from CAG
       before presenting to others.
     PPB providing training and inspection of safety features in place for community
       gathering sites. Addressing prevention and how to escalate matters.
     PPB informs the appropriate Advisory Council when a crime has occurred, in order to
       inform the community on what is being done before it is released to the media. This
       initiative is very important in order to bring assurance of what efforts are being made
       from trusting source, without jeopardizing the investigation.
     Review of bias/hate crime reports from Multnomah DOJ.
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   PPB Academy Training for new officers have been updated to include CAG/community
    to provide information on how to engage with cultural/bias sensitivity issues and being
    aware of what they are.
   Given PPB is understaffed, they are consistent with their attendance and follow-ups on
    CAG meetings and action items. This is such a positive reflection of their commitment to
    community concerns and building healthy relationships. There has been a recent increase
    of officers asking to be a member of specific Advisory Councils. A great reflection of
    continuous growth and support.
   Muslim Advisory Council (MAC):
        o MAC Iftar (PPB, DOJ breaking fast in Ramadan with community leaders) led
            PPB to win the International Association of Chiefs of Police (IACP) Officer
            Safety and Wellness (OSW) presentation award as a model for other Police Chiefs
            nationally and internationally, to learn on community engagement.
        o Oregon State Medical Examiner changing autopsy procedures for Muslim burial
            rights. Could not properly clean the dead body for burial when the opening is not
            fully closed.
   Latino Advisory Council (LAC):
        o U-visa:
                  Monumental work and contribution to the PPB U-visa program
                    (immigrant crime victims’ protection from deportation and federally
                    funded and protected programs to support immigrant crime victims).
                  LAC met with PPB Command, City Auditor’s office and impacted
                    community to strengthen PPB organizational response to U visa review of
                    application, policy, training, and protocols.
                  Because of LAC, we now have a PPB website (for ALL immigrant crime
                    victims, not just Latino).
        o Missing Persons Project:
                  LAC has started a community initiative to improve our Missing Persons
                    messaging and information sharing after a young Latino woman went
                    missing in Nov 2024. This incident impacts ALL of Portlanders, but in
                    particular non-English speaking persons whose family members go
                    missing. This program focuses on creating a plain language messaging on
                    What to Do, What to expect, How to Report a family member missing.
   Asian Pacific Islander American Advisory Council (APIAAC):
        o Facilitated many meetings and conversations between the PPB Chief’s Office and
            the APIA community on hate crime and bias incidents. APIA brokered a series of
            workshops with the elderly Chinese Community impacted by random assault
            attacks that caused a lot of fear and distrust of government.
        o APIA groups continue to be a bridge between the APIA business community on
            the issue of human trafficking and in January 2024, APIA council led an initiative
            at the MEKONG Bistro on mobilizing APIA businesses to prevent labor
            trafficking and engage with PPB.
   Slavic Advisory Council (SAC):
        o Continued its educational outreach campaign through local Russian-language
            media. The target audience are low-English proficiency community members. In
            2024, SAC published 12 articles in the Afisha Magazine, which is distributed for
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               free at all grocery stores and other business run by Slavic community members.
               The topics, among others, included:
                    Trafficking-in-Persons
                    Police actions in crisis situations
                    PPB crime-prevention missions
                    Safety at schools
                    Worked with PPB to translate into Russian a PowerPoint presentation,
                       handout materials and a poster on Community Active Shooter
                       Preparedness for talks with the community on the subject.
                    Ombudsman: protection of citizens’ rights
                    U- and T-Visas for victims of crime.

In summary, CAG truly serves as a liaison between PPB and Community.

Concerns: As we establish good practices, procedures, relationships, the concern is
sustainability. If this is not incorporated into the city’s infrastructure, it runs the risk in being
abandoned, especially given the frequent changes with personnel. Like any company,
qualifications, procedures, and accountability are required for growth and continuous
improvements. Is there a reason why we cannot address this, in order to not lose progress being
made and prevent reoccurrence of issues that detriment community support and well-being.

Laila Hajoo plans to attend the Jan 7, 2025, testimony hearing. We thought it would be
advantageous for you to receive a copy of this testimony prior to the hearing.
We hope this report serves you well and we are always open to address any questions or
concerns.

With many thanks.

Dr. Vernon Baker; CAG (Coalition of Advisory Groups) Co-Chair
Laila Hajoo; CAG (Coalition of Advisory Groups) Co-Chair
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